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  Comm onwea1thofVirginia
  Va.Code j8.01-301,-310,-329;55-218.1;57-51




     c/oRobel'
             tCahillCooleyLLP 11951Freedom Drive



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                                       .Youmustcomplyw ith theappropriaterequirem entslistedonthebackofthisform .

 Attachments;                                                                     Summ onsand Complaint
                  r 1Warrant r 1MotionforJudgmentr 1GarnishmentSummons gxj,......,.
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 1,theundersigned Affiant,stateunderoaththat:
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     Verification ofthe dateoffiling ofthe certificateofcompliancerequestqd in the self-addressed stamped envelope provided.
 N OTICE TO THE RECIPIENT from theOfficeofthe Secretary ofthe Comm onw ealth ofVirginia:
        Youarebeingservedw iththisnoticeand attachedpleadingsunderSection 2.01-329oftheCodeofVirginiawhich designates
        theSecretary oftheComm onwea1thasstatutory agentforServiceofProcess.TheSecretary oftheComm onwealth'sONLY
        responsibilityisto mail,by certifiidm ail,retum receiptrequested,theenclosedpaperstoyou.Ifyouhaveany questions
        concerningthesedocuments,youmay wishtoseek advicefrom alawyer.
 SERVICE OFPROCESSISEFFECTIVE ON TI!E DATETHATYl'
                                                lECERTVICATE 0FCOMPLIANCE ISFILED WITH TI!E
 ABOVE-N AG D COURT.
                                           CERTIFICATE OF COM PLIANCE
 1,theundersigned,ClerkintheOfficeoftheSecretaryoftheComm onw ea1th,hereby certifythefollow ing:
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      Com monw ea1th,asstatutoryagentforpersonstobeservedin accordancewith Sectio 2.01-329oftheCodeofVirginia,asamended.
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